Case 6:17-cv-01423-GAP-LRH Document 45 Filed 01/10/18 Page 1 of 4 PageID 263




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   WILLINE BRYANT and MAX GRACIA, SR., as
   Co-Personal Representatives of the Estate of
   MAX GRACIA, JR., II,
                               Case No. 6:17-CV-1423-ORL-31-KRS
         Plaintiffs
   vs.

   ORANGE COUNTY, FLORIDA, ROBERT J.
   BUCK, III, MARY ANNE EVANS, KAREN
   CLAIRMONT, ELSA GALLOZA-GONZALEZ
   and LYNN MARIE HARTER,

         Defendants.
   _______________________________________________/

       DEFENDANT, KAREN CLAIRMONT’S ANSWER AND AFFIRMATIVE
            DEFENSES TO PLAINTIFFS’ AMENDED COMPLAINT

          Defendant, Karen Clairmont, by and through his undersigned counsel, for answer

   to Plaintiffs’ Amended Complaint admits that Plaintiffs’ Decedent, Max Gracia, Jr., II,

   died on August 10, 2015 while an inmate at the Orange County Jail having been

   incarcerated in the Orange County Jail since August 6, 2015 after having been arrested on

   multiple felony charges and after having been bitten a Sheriff’s Deputy canine in an

   effort to capture Mr. Gracia after he had robbed a convenience store at gun point. This

   Defendant further admits that from August 6 to August 10, 2015, she was a registered

   nurse employed by Orange County to work in its jail as a licensed registered nurse and

   during that time, while on shift, was responsible for providing nursing care to inmates in

   the infirmary area where she worked to include Plaintiffs’ Decedent, Max Gracia, Jr., II




                                               1
Case 6:17-cv-01423-GAP-LRH Document 45 Filed 01/10/18 Page 2 of 4 PageID 264




   and that at all times material thereto, Defendant, Karen Clairmont, was acting under the

   color of state law in the course and scope of her employment with Orange County.

           Defendant, Karen Clairmont, denies the remaining allegations of Plaintiffs’

   Amended Complaint including Counts I, II, III, V, VI and VII as they do not state claims

   against her, individually, and specifically denies the claims in Count IV of Plaintiffs’

   Amended Complaint that she had, at any time, acted with deliberate indifference to the

   health and safety of the Decedent, Max Gracia, Jr., II or with deliberate indifference to

   his medical needs or that any actions or lack of action she took led to the death of Max

   Gracia, Jr., II or deprived him of his civil rights.

                                   AFFIRMATIVE DEFENSES

           1.      Plaintiffs’ Decedent, Max Gracia, Jr., II’s death was as a result of causes

   unrelated to any septic condition as a result of his dog bites and therefore, is not related to

   any action or inaction by Defendant, Karen Clairmont.

           2.      At no time, did Defendant, Karen Clairmont act with deliberate indifference

   as to Plaintiffs’ Decedent, Max Gracia, Jr., II.

           3.      The actions of Defendant, Karen Clairmont, were reasonable and appropriate

   under the circumstances and said Defendant is entitled to qualified immunity.

           4.      Plaintiffs’ Decedent, Max Gracia, Jr., II failed to mitigate his damages by

   refusing to take medications that otherwise affected his immunity system to be able to

   withstand results of any infection or sepsis occurring from bites inflicted by an Orange

   County Sheriff’s canine.




                                                      2
Case 6:17-cv-01423-GAP-LRH Document 45 Filed 01/10/18 Page 3 of 4 PageID 265




          5.      Defendant, Karen Clairmont, reserves the right to supplement this Answer

   with additional Affirmative Defenses pending the outcome of discovery in this matter

                                   DEMAND FOR JURY TRIAL

          Defendant Karen Clairmont, hereby requests a trial by jury on all issues and

      questions so triable.



                              s/ Walter A. Ketcham, Jr.
                              Walter A. Ketcham, Jr., Esquire
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                              Counsel for Defendant, Karen Clairmont




                                               3
Case 6:17-cv-01423-GAP-LRH Document 45 Filed 01/10/18 Page 4 of 4 PageID 266




                                    CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that on the 10th day of January, 2018, I electronically filed

   the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

   notice of electronic filing to all counsel of record.



                             s/ Walter A. Ketcham, Jr.
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                             Counsel for Defendant, Karen Clairmont




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